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                                      Simpson Thacher & Bartlett LLP
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                 VIA ECF                                             February 21, 2024

                 The Honorable John G. Koeltl
                 United States District Court
                 Southern District of New York
                 500 Pearl Street
                 New York, NY 10007

                        Re:     Banco San Juan Internacional, Inc. v. the Federal Reserve Bank of New
                                York and the Board of Governors of the Federal Reserve System, Case No.
                                1:23-cv-6414 (JGK)

                 Dear Judge Koeltl:

                          I write on behalf of the Federal Reserve Bank of New York (“FRBNY”) in response
                 to the letter filed by Banco San Juan Internacional, Inc. (“BSJI”) on February 13, 2024 (the
                 “Letter”). As the Letter notes, BSJI recently abandoned its appeal of the Court’s October
                 24, 2023 Order rejecting BSJI’s motion for a preliminary injunction barring the closure of its
                 master account (the “Preliminary Injunction Order”). BSJI states that it now intends to
                 amend its complaint and seeks permission to do so before Defendants respond to its current
                 complaint. See Castro v. United Sec. Inc., No. 10-cv-6152, 2011 WL 1532012, at *1
                 (S.D.N.Y. Apr. 18, 2011) (construing attempt to amend complaint as a matter of course as
                 request to amend because it was filed more than 21 days after service of complaint but
                 before defendant filed motion to dismiss).

                          Whether by design or not, these developments have delayed the resolution of this
                 action. After initially representing that it would pursue an expedited appeal, BSJI requested
                 a full three months to file its opening appeal brief and then waited until the last possible
                 day—the day the brief was due—to withdraw the appeal. The FRBNY has asked BSJI
                 repeatedly how amendment would not be futile in light of the Preliminary Injunction Order’s
                 merits-based rulings, but BSJI has declined to respond.

                        In the event the Court permits BSJI to amend its complaint, the FRBNY intends to
                 continue to move this case towards resolution.
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                                                         Simpson Thacher & Bartlett LLP
The Honorable John G. Koeltl          -2-                         February 21, 2024

                                        Respectfully submitted,

                                        /s/ Jonathan K. Youngwood

                                        Jonathan K. Youngwood

cc:   All Counsel of Record via ECF
